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FUND ADVISORS, L.P. AND NEXPOINT ADVISORS, L.P.

                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 In re:                                           §
                                                  §
                                                                       Chapter 11
 HIGHLAND CAPITAL MANAGEMENT,                     §
 L.P.                                             §
                                                               Case No. 19-34054-sgj11
                                                  §
          Debtor.                                 §
                                                  §
 HIGHLAND CAPITAL MANAGEMENT,                     §
 L.P.,                                            §
                                                  §
          Plaintiff,                              §
                                                  §
 v.                                               §              Adv. No. 21-03010-sgj
                                                  §
 HIGHLAND CAPITAL MANAGEMENT                      §
 FUND ADVISORS, L.P. and NEXPOINT                 §
 ADVISORS, L.P.,                                  §
                                                  §
          Defendants.                             §

                DESIGNATION OF ITEMS FOR THE RECORD ON APPEAL
                        BY NEXPOINT ADVISORS, L.P. AND
               HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS, L.P.

          COME NOW NexPoint Advisors, L.P. and Highland Capital Management Fund Advisors,

L.P. (together, the “Appellants”) and, with respect to their Joint Notice of Appeal, hereby file this

Designation of Items for the Record on Appeal, designating the following items for the record of

said appeal:

DESIGNATION OF ITEMS FOR THE RECORD ON APPEAL BY NEXPOINT ADVISORS, L.P. AND
HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS, L.P.—Page 1
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 Item Docket Description
      No.
                      BANKRUPTCY CASE (19-34054-sgj-11)
   1   1826 Application for Allowance of Administrative Expense Claim
   2   2274 Debtor’s Objection to Application for Administrative Claim of Highland
             Capital Management Fund Advisors, L.P. and NexPoint Advisors, L.P.
                   ADVERSARY PROCEEDING (21-03010-sgj)
   3     1   Plaintiff Highland Capital Management, L.P.’s Verified Original Complaint
             for Damages and for Declaratory and Injunctive Relief
   4     33  Original Answer
   5    37   Order Approving Stipulation (A) Amending Scheduling Order and (B)
             Consolidating and Resolving Certain Matters
   6     49  Response to Debtor’s Objection to Application for Administrative Claim of
             Highland Capital Management Fund Advisors, L.P. and NexPoint Advisors,
             L.P.
   7     56  Highland Capital Management, L.P.’s Reply In Further Support of Debtor’s
             Objection to Application for Administrative Claims of Highland Capital
             Management Fund Advisors, L.P. and NexPoint Advisors, L.P.
   8     90  Advisors’ Trial Brief
   9    91   Highland’s Proposed Findings of Fact and Conclusions of Law
  10     96  Joint Pretrial Order
  11    124  Findings of Fact and Conclusions of Law
  12    126  Judgment
  13    128  Joint Notice of Appeal
                EVIDENCE AND TRANSCRIPTS (21-03010-SGJ)
  14    115  All exhibits admitted into evidence at trial on April 12, 2022 and April 13,
             2022
  15    113  Transcript of April 12, 2022 trial
  16    116  Transcript of April 13, 2022 trial
  17    122  Transcript of April 27, 2022 closing arguments




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HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS, L.P.—Page 2
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         RESPECTFULLY SUBMITTED this 2d day of October, 2022.

                                                   MUNSCH HARDT KOPF & HARR, P.C.

                                                   By: /s/ Davor Rukavina
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                                                   ATTORNEYS FOR NEXPOINT ADVISORS,
                                                   L.P. AND HIGHLAND CAPITAL
                                                   MANAGEMENT FUND ADVISORS, L.P.




                                       CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on the 2d day of October, 2022, true and correct
copies of this document were electronically served via the Court’s CM/ECF system on all parties
entitled to such notice, including counsel for the appellee.

                                                   By: /s/ Davor Rukavina
                                                          Davor Rukavina, Esq.




DESIGNATION OF ITEMS FOR THE RECORD ON APPEAL BY NEXPOINT ADVISORS, L.P. AND
HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS, L.P.—Page 3
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